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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

         Plaintiff,
                                                                   Case No. 1:12-cr-132
  v.
                                                                   HON. JANET T. NEFF
  CAESAR GARZA,

        Defendant.
  ____________________________/


                          MEMORANDUM OPINION AND ORDER

        Pending before the Court is Defendant’s pro se motion for modification or reduction of

 sentence under Guideline Amendment 782 re drug offense pursuant to 18 U.S.C. § 3582(c)(2)

 (ECF No. 1788), which the Court construes as a motion for reconsideration of the order (ECF No.

 1656) denying his earlier motion for modification or reduction of sentence under Guideline

 Amendment 782 re drug offense pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 1588). This matter

 was originally assigned to Judge Robert Holmes Bell but was reassigned on May 17, 2017, to the

 undersigned pursuant to Administrative Order No. 17-CA-022. The Court did not request a

 response to Defendant’s motion. At issue are the Memorandum Opinion and Order (ECF No.

 1655), and Order (ECF No. 1656) entered March 17, 2016, denying Defendant’s Amendment 782

 motion for reduction of sentence.

        On November 20, 2015, Defendant filed a Pro Se motion for modification or reduction of

 sentence under Guideline Amendment 782 re drug offense pursuant to 18 U.S.C. § 3582(c)(2)

 (ECF No. 1588). On December 30, 2015, the U.S. Probation Department filed a Sentence

 Modification Report (ECF No. 1604) recommending a sentence reduction, and counsel for the
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 Defendant and the Government filed responses to the Sentence Modification Report (ECF Nos.

 1635 and 1653) concurring that Defendant is eligible for a sentence reduction.

        Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

 has been sentenced based on a sentencing range that has subsequently been lowered by the

 Sentencing Commission.       18 U.S.C. § 3582(c)(2).      Amendment 782 of the United States

 Sentencing Guidelines reduced by two levels the offense levels assigned to the quantities that

 trigger the statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These

 modifications were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

        Having fully considered the Sentence Modification Report (ECF No. 1604) and responses

 by defense counsel and the Government (ECF Nos. 1635 and 1653), the Court has determined that

 the defendant is eligible for a reduction of sentence according to the policy statements of the U.S.

 Sentencing Commission.

        Therefore, IT IS HEREBY ORDERED that the Memorandum Opinion and Order (ECF

 No. 1655), and Order Regarding Motion for Sentence Reduction (ECF No. 1656) are VACATED.

 Defendant’s motion for reconsideration (ECF No. 1788) and motion for a sentence reduction (ECF

 No. 1588) are GRANTED, and Defendant’s sentence is reduced to 106 months custody.



 Dated: October 4, 2017                                        /s/ Janet T. Neff
                                                              JANET T. NEFF
                                                              United States District Judge
